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 1   THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
     Attorneys for Anthony Joachim
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9                                               )
     UNITED STATES OF AMERICA,                   )   Case No.: 2:11-cr-00511-WBS
10                                               )
                   Plaintiff,                    )   STIPULAION AND [PROPOSED]
11                                               )   ORDER TO TERMINATE
            vs.                                  )   DEFENDANT’S PRE-TRIAL SERVICES
12                                               )   SUPERVISION
                                                 )
     ANDREW B. KATAKIS,                          )
13
     DONALD M. PARKER,                           )
14   ANTHONY B. JOACHIM, and                     )
     W. THEORDORE LONGLEY                        )
15                                               )
                   Defendants.                   )
16                                               )

17
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
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     supervision of Anthony Joachim by Pre-Trial Services be termination. Mr. Joachim has
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     been under supervision for almost 3 years; he has been compliant with all of his release
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     conditions; he has had no new law violations; he has made all of his required court
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     appearance; and he has no prior failures to appear for court; and no violations have been
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     filed. Pre-Trial Services has also been informed of the request and joins in the
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     termination of Mr. Joachim’s supervision.
24
25
     IT IS SO STIPULATED.
26
27   DATED: October 3, 2014                           By:    /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
28                                                           Attorney for Anthony Joachim

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 1   DATED: October 3, 2014
 2                                           By:   /s/ Thomas A. Johnson for
                                                   ANNA PLETCHER
 3                                                 Assistant United States Attorney
 4
 5   IT IS SO ORDERED.
 6   DATED: October 3, 2014
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